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                                          IN THE UNITED STATES BANKRUPTCY COURT
                                              FOR THE DISTRICT OF PUERTO RICO

In Re:                                                                                                                19-06683-EAG13
                                                                                                            Case No.: _________________
          CAROLIN MENDEZ TORRES
                                                                                                            Chapter 13



XXX-XX-______
       6242
                                                                                        ☐ Check if this is a Pre-Confirmation amended plan.
XXX-XX-______

                                                                                        ☐ Check if this is a Post Confirmation amended plan
                                                                                            Proposed by:
PR Local Form G                                                                                            ☐■ Debtor(s)
                                                                                                           ☐ Trustee
Chapter 13 Plan dated _____________.
                         12/18/2019
                                                                                                           ☐ Unsecured Creditor(s)

                                                                                        ☐ If this is an amended plan list below the sections
                                                                                           of the plan that have been changed.

                                                                                            _________________________________________

                                                                                           _________________________________________

_____________________________________________________________________________________________________________________

PART 1: Notices________________________________________________________________
To Debtors:             This form sets out options that may be appropriate in some cases, but the presence of an option on the form does
                        not indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district.
                        Plans that do not comply with local rules and judicial rulings may not be confirmable.

                        In the following notice to creditors, you must check each box that applies.

To Creditors:           Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                        have an attorney, you may wish to consult one. The headings contained in this plan are inserted for reference purposes
                        only and shall not affect the meaning or interpretation of this Plan.

                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an
                        objection to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise
                        ordered by the Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to
                        confirmation is filed. See Bankruptcy Rule 3015. In addition, you must file a timely proof of claim in order to be paid under
                        this plan, unless ordered otherwise.

                        If a claim is withdrawn by a creditor or amended to an amount less than the amount already disbursed under the plan on
                        account of such claim: (1) The trustee is authorized to discontinue any further disbursements to related claim; (2) The sum
                        allocated towards the payment of such creditor’s claim shall be disbursed by the trustee to Debtor’s remaining creditors. (3) If
                        such creditor has received monies from the trustee (Disbursed Payments), the creditor shall return funds received in excess
                        of the related claim to the trustee for distribution to Debtor’s remaining creditors. (4) If Debtor has proposed a plan that
                        repays his or her creditors in full, funds received in excess of the related claim shall be returned to the Debtor.

                        The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or not the
                        plan includes each of the following items. If an item is checked as “Not included” or if both boxes are checked, the provision
                        will be ineffective if set out later in the plan.



1.1      A limit on the amount of a secured claim, set out in Section 3.2, which may result in a                   ☐ Included        ☐
                                                                                                                                     ■ Not included

         partial payment or no payment at all to the secured creditor

1.2      Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out               ☐ Included        ☐ Not included
                                                                                                                                     ■

         in Section 3.4

1.3      Nonstandard provisions, set out in Part 8                                                                 ☐ Included
                                                                                                                   ■                 ☐ Not included




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PART 2: Plan Payments and Length of Plan_________________________________________
2.1    Debtor(s) will make payments to the trustee as follows:

             PMT Amount                 Period(s)    Period(s) Totals                                        Comments
               $ 550                       60                 $ 33,000
                                                                    $0
                                                                    $0
                                                                    $0
                                                                    $0
                Subtotals              60                     $ 33,000
            Insert additional lines if needed

             If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments to
            creditors specified in this plan.

2.2    Regular payments to the trustee will be made from future income in the following manner:

       Check all that apply.
       ☐ Debtor(s) will make payments pursuant to a payroll deduction order.
       ☐■ Debtor(s) will make payments directly to the trustee.
       ☐ Other (specify method of payment): ________________________________________
2.3    Income tax refunds:

       Debtor(s) will supply the trustee with copy of each income tax return filed during the plan term within 14 days of the filing the return and
       will comply with 11 U.S.C. § 1325(b)(2). If the Debtor(s) need(s) to use all or a portion of such “Tax Refund,” Debtor(s) shall seek
       court authorization prior to any use thereof.

2.4    Additional payments:

       Check one.
       ☐
       ■ None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

       ☐ Debtor(s) will make additional payment(s) to the trustee from other sources, as specified below. Describe the source, estimated amount,
         and date of each anticipated payment.

       _____________________________________________________________________________________________________________

       ________________________________________________________________________________________________________________


PART 3: Treatment of Secured Claims_____________________________________________
3.1 Maintenance of payments and cure of default, if any.

      Check one.

      ☐ None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

      ☐ The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes required by
      ■
      the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the trustee or directly
      by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee, with
      interest, if any, at the rate stated, pro-rated unless a specific amount is provided below. Unless otherwise ordered by the court, the amounts
      listed on a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below as to the
      current installment payment and arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. If
      relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless otherwise ordered by the court, all
      payments under this paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by the
      plan. The final column includes only payments disbursed by the trustee rather than by the debtor(s).


       Name of Creditor                 Collateral         Current                   Amount of    Interest              Monthly             Estimated total
                                                           Installments              arrearage    rate on               Plan PMT            payments by
                                                           Payments                  (If any)     arrearage             on arrearage        trustee
                                                           (Including escrow)                     (If any)


       ______________
       BANCO POPULAR DE PUERTO RICO
                                      MORTAGE
                                       _____________         685.00
                                                           $ _________               $ ________   _____ %               $ _________         $ __________

                                                           Distributed by:
                                                                                                  _____ Months          Starting on Plan Month ______
                                                           ☐Trustee
                                                           ☐
                                                           ■ Debtor(s)




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       Name of Creditor         Collateral            Current                   Amount of           Interest               Monthly              Estimated total
                                                      Installments              arrearage           rate on                Plan PMT             payments by
                                                      Payments                  (If any)            arrearage              on arrearage         trustee
                                                      (Including escrow)                            (If any)


       ______________           _____________         $ _________               $ ________          _____ %                $ _________          $ __________

                                                      Distributed by:
                                                                                                    _____ Months           Starting on Plan Month ______
                                                      ☐
                                                      ■ Trustee


                                                      ☐Debtor(s)

       Name of Creditor         Collateral            Current                   Amount of           Interest               Monthly              Estimated total
                                                      Installments              arrearage           rate on                Plan PMT             payments by
                                                      Payments                  (If any)            arrearage              on arrearage         trustee
                                                      (Including escrow)                            (If any)


       ______________           _____________         $ _________               $ ________          _____ %                $ _________          $ __________

                                                      Distributed by:
                                                      ☐
                                                      ■ Trustee                                     _____ Months           Starting on Plan Month ______
                                                      ☐Debtor(s)

       Insert additional lines as needed.


3.2    Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.
       ☐ None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
       ■


       The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

       ☐ The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured claim
       listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of secured claim. For
       secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a proof of claim filed in
       accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each listed claim, the value of the secured claim
       will be paid in full with interest at the rate stated below.If no monthly payment is listed below, distribution will be pro-rated according to section
       7.2.
       The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this
       plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated in its entirety
       as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditor’s total claim listed on the
       proof of claim controls over any contrary amounts listed in this paragraph.

       The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the property
       interest of the debtor(s) or the estate(s) until the earlier of:
       (a) Payment of the underlying debt determined under nonbankruptcy law, or
       (b) Discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor. See
       Bankruptcy Rule 3015.

           Name of Creditor     Estimated       Collateral         Value of        Amount of    Amount of       Interest   Monthly PMT       Estimated
                                Amount of                          Collateral      Claims       Secured         Rate %     to Creditor       Total of
                                Creditor’s                                         Senior to    Claim                                        Monthly PMTs
                                Total Claim                                        Creditor’s
                                                                                   Claim

            ______________      $ _______       ________           $ ______        $ _______    $ _______       _____% $ _________           $ __________

                                                                                                                _____ Months Starting on Plan Month _____

            ______________      $ _______       ________           $ ______        $ _______    $ _______       _____% $ _________           $ __________


                                                                                                                _____ Months Starting on Plan Month _____

       Insert additional lines as needed.




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 3.3     Secured claims excluded from 11 U.S.C. § 506.
         Check one.
         ☐■ None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

         ☐ The claims listed below were either:
             (1) Incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for
             the personal use of the debtor(s), or
             (2) Incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

         These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by the
         trustee or directly by the debtor, as specified below. Unless otherwise ordered by the court, the claim amount stated on a proof of claim
         filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In the absence of a
         contrary timely filed proof of claim, the amounts stated below are controlling. The final column includes only payments disbursed by the
         trustee rather than by the debtor. If the Trustee is to disburse and no monthly payment amount is listed below, distribution will be prorated
         according to plan section 7.2.

         Name of Creditor        Collateral                       Amount of             Interest   Monthly plan          Estimated total
                                                                  Claim                 Rate       payment               payments by Trustee

         ______________          ____________________             $ ________            ____%      $ _________           $ ____________

                                                                                   _____ Months    Distributed by:
                                                                               Starting on         ☐Trustee
                                                                                                       ■


                                                                               Plan Month _____    ☐Debtor(s)
         Name of Creditor        Collateral                       Amount of             Interest   Monthly plan          Estimated total
                                                                  Claim                 Rate       payment               payments by Trustee

         ______________          ____________________             $ ________            ____%      $ _________           $ ____________

                                                                                  _____ Months     Distributed by:
                                                                               Starting on
                                                                               Plan Month _____
                                                                                                   ☐Trustee
                                                                                                       ■


                                                                                                   ☐Debtor(s)
        Insert additional lines as needed.

3.4 Lien Avoidance.
       Check one.
   ■☐ None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
       The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.


       ☐ The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to which
       the debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the court, a judicial lien or security interest
       securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the order confirming the plan. The
       amount of the judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the extent allowed. The
       amount, if any, of the judicial lien or security interest that is not avoided will be paid in full as a secured claim under the plan. See 11 U.S.C.
       § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be avoided, provide the information separately for each lien. If no monthly
       payment is listed below, distribution will be prorated according to plan section 7.2.

        Information regarding            Calculation of Lien Avoidance                                                   Treatment of Remaining secured
        judicial lien or security                                                                                        claim
        interest

        Name of Creditor                 a. Amount of lien                                         $                     Amount of secured claim after
                                                                                                                         avoidance (line a minus line f)
                                         b. Amount of all other liens                              $
                                                                                                                         $
        Collateral                       c. Value of claimed exemptions                      +     $
                                                                                                                         Interest Rate (if applicable)


       Lien identification (such as
       judgment date, date of lien       d. Total of adding lines a, b and c                       $                 0   [         %]                    Months
       recording, book and page                                                                                                             Starting on
       number)                                                                                                                              Plan Month _____
                                                                                                                         Monthly Payment on secured claim
       ______________________            e. Value of debtor’s interest in property          —      $                     $ ___________________________


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                                       f. Subtract line e from d.                                  $          0
                                       Extent of exemption impairment                                             Estimated total payments on
                                                                                                                  secured claim
                                       (check applicable box)
                                                                                                                  $
                                       ☐ Line f is equal to or greater than line a.
                                       ■
                                       The entire lien is avoided (Do not complete the next column.)

                                       ☐ Line f is less than line a.
                                       A portion of the lien is avoided. (Complete the next column.)

       Insert additional lines as needed.


3.5    Surrender of collateral.
       Check one.
         ☐ None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
         ■


         ☐ The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s)
         request that upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the
         stay under § 1301 be terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will
         be treated in Part 5 below.

        Name of creditor                                                              Collateral




       Insert additional lines as needed.


3.6    Pre-Confirmation Adequate Protection Monthly Payments (“APMP”) to be paid by the trustee.

        ☐   Payments pursuant to 11 USC §1326(a)(1)(C):
            Name of Secured Creditor                    $ Amount of APMP                                          Comments




        Insert additional lines as needed.


        Pre-confirmation adequate protection payments made through the Plan by the trustee are subject to corresponding statutory fee.




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3.7    Other Secured Claims Modifications.
       Check one.
       ☐ None. If “None” is checked, the rest of § 3.7 need not be completed or reproduced.
       ☐ Secured Claims listed below shall be modified pursuant to 11 U.S.C. § 1322(b)(2)
       ■                                                                                            and/or § 1322(c)(2). Upon confirmation, the
         Trustee shall pay the allowed claim as expressly modified by this section, at the annual interest rate and monthly payments described
         below. Any listed claim will be paid in full through disbursements by the trustee, with interest, if any, at the rate stated, pro-rated
         unless a specific amount is provided below. Unless otherwise ordered by the court, the amounts listed on a proof of claim filed before
         the     filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below. In the absence of a contrary timely
         filed proof of claim, the amounts stated below are controlling. In the absence of a contrary timely filed proof of claim, the amounts stated
         below are controlling.If no monthly payment amount is listed below, distribution will be prorated according to plan section 7.2.

       Name of Creditor        Claim         Claim Amount      Modified Modified Modified Property Property Total Monthly              Estimated
                               ID #                            Interest Term     P&I       Taxes    Insurance Payment                  Total PMTs by
                                                               Rate     (Months)          (Escrow) (Escrow)                            Trustee
      RELIABLE   AUTO
       ______________          _____            18,993.36
                                             $ __________      _____% _____        $ ______ $ ______ $ ______                 0.00
                                                                                                                     $ _________    $ ________
                                             ☐ To be Pay
                                             ■                                                                     Starting on
                                             In Full 100%                                                          Plan Month _____


       ______________          _____         $ __________      _____% _____ $ ______           $ ______ $ ______              0.00 $ ________
                                                                                                                      $ _________
                                             ☐ To be Pay                                                           Starting on
                                             In Full 100%                                                          Plan Month _____


       ______________          _____         $ __________      _____% _____ $ ______           $ ______ $ ______             0.00
                                                                                                                      $ _________      $ ________
                                             ☐ To be Pay                                                           Starting on
                                             In Full 100%                                                          Plan Month _____


        Insert additional lines as needed.




PART 4: Treatment of Fees and Priority Claims_____________________________________
4.1     General

        Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
        without postpetition interest.

4.2     Trustee’s Fees

        Trustee’s fees are governed by statute and may vary during the term of the plan, nevertheless are estimated for confirmation purposes to be
        10 % of all plan payments received by the trustee during the plan term.

4.3 Attorney’s fees

      Check one

          ☐ Flat Fee: Attorney for Debtor(s) elect to be compensated as a flat fee their legal services, up to the plan confirmation, according to
          LBR 2016-1(f).
  OR
          ■
          ☐ Fee Application: The attorneys’ fees amount will be determined by the Court, upon the approval of a detailed application for fees and
          expenses, filed not later than 14 days from the entry of the confirmation order.

                     Attorney’s fees paid pre-petition                                                       500.00
                                                                                                       $____________

                     Balance of attorney’s fees to be paid under the plan are estimated to be:             2,500.00
                                                                                                       $____________

                     If this is a post-confirmation amended plan, estimated attorney’s fees:           $____________




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4.4    Priority claims other than attorney’s fees and those treated in §§ 4.5, 4.6.
       Check one.
       ☐
       ■ None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.



       ☐ The Trustee shall pay in full all allowed claims entitled to priority under §507, §1322(a)(2), estimated in $_________ .
           Name of Priority Creditor                                                 Estimate Amount of claim to be paid

                                                                                     $

                                                                                     $

                                                                                     $

                                                                                     $


       Insert additional lines as needed.


4.5    Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.
       Check one.
       ☐■ None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.
       ☐  The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a
         governmental unit and will be paid less than the full amount of the claim under 11 U.S.C. § 1322(a)(4). This plan provision requires that
         payments in § 2.1 be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).

             Name of Creditor                                                        Estimated Amount of claim to be paid

                                                                                     $

                                                                                     $

                                                                                     $

                                                                                     $

                                                                                     $

       Insert additional lines as needed.


4.6    Post confirmation property insurance coverage
       Check one.
       ☐
       ■ None. If “None” is checked, the rest of § 4.6 need not be completed or reproduced.



       ☐ The debtor(s) propose to provide post confirmation adequate protection to the secured creditors listed below by providing property insurance coverage.
       Name of Creditor Insured             Insurance            Insurance Coverage                Estimated Insurance               Estimated total
                                            Company              Beginning Date                    Premium to be paid                payments by Trustee

       _________________________            _____________        _________________                 $ _________________               $ __________________

                                                                                                   Distributed by:
                                                                                                   ☐
                                                                                                   ■ Trustee


                                                                                                   ☐Debtor(s)
       _________________________            _____________        _________________                 $ _________________               $ __________________

                                                                                                   Distributed by:
                                                                                                   ☐
                                                                                                   ■ Trustee

                                                                                                   ☐Debtor(s)
           Insert additional lines as needed.




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PART 5: Treatment of Nonpriority Unsecured Claims_________________________________
5.1    Nonpriority unsecured claims not separately classified.

       Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
       providing the largest payment will be effective. Check all that apply.
        ☐ The sum of $_____________.
        ☐ _________% of the total amount of these claims, an estimated payment of $                .

       ■☐ The funds remaining after disbursements have been made to all other creditors provided for in this plan.
            If the estate of the Debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $_________.

5.2    Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one
       Check one.
       ☐■ None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

       ☐  The debtor(s) will maintain the contractual installment payments and cure any default in payments on the unsecured claims listed below
       on which the last payment is due after the final plan payment. Contractual installment payments will be disbursed either by the trustee or
       directly by the debtor(s), as specified below. The claim for the arrearage amount will be paid in full as specified below and disbursed by the
       trustee. The final column includes only payments disbursed by the trustee rather than by the debtor(s).

       Name of creditor                                          Current installment           Amount of arrearage               Estimated total
                                                                 payments                      to be paid                        payments by
                                                                                                                                 trustee

       ______________________________                            $ _____________               $ _______________                 $ ______________

                                                                 Distributed by:
                                                                 ☐Trustee
                                                                 ■

                                                                 ☐Debtor(s)
       ______________________________                            $ _____________               $ _______________                 $ ______________

                                                                 Distributed by:
                                                                 ☐
                                                                 ■ Trustee

                                                                 ☐Debtor(s)
       Insert additional lines as needed.

       Other separately classified nonpriority unsecured claims. Check one.
5.3
       Check one.
       ☐■ None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.
       ☐ The nonpriority unsecured allowed claims listed below are separately classified and will be treated as follows:(If Trustee is to disburse
           and no monthly payment amount is listed below, distribution will be prorated according with plan section 7.2.)

       Name of creditor        Base for separate    Treatment               Amount to be paid Interest Rate Months Starting PMT      Estimated
       (Claim No.)             classification       (to be paid prorated)   on the claim      (if applicable)      on Plan Amount total amount
                                                                            (if applicable)                        Month          of payments

       ________________        ______________       ☐ In Full – 100%        $ ____________      _______% _____ _____ $ _____ $ _______
                                                    ☐ Less than 100%
                                                    ☐ Paid by co-debtor
                                                    ☐
                                                    ■ Other (Explain)       _______________________________________________________


       ________________        ______________       ☐ In Full – 100%        $ _____________    _______ % _____ _____           $ _____ $ _______
                                                    ☐ Less than 100%
                                                    ☐ Paid by co-debtor
                                                    ☐
                                                    ■ Other (Explain)       _______________________________________________________
       Insert additional lines as needed.




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PART 6: Executory Contracts and Unexpired Leases_________________________________

6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts and
    unexpired leases are rejected. Check one.
       Check one.
       ☐
       ■ None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



       ☐  Assumed items. Current installment payments will be disbursed either by the trustee or directly by the debtor(s), as specified below,
       subject to any contrary court order or rule. Arrearage payments will be disbursed by the trustee. The final column includes only payments
       disbursed by the trustee rather than by the debtor(s).


       Name of Creditor        Description of leased          Current              Amount of           Treatment of            Estimated total
                               Property or executory          Installment          arrearage to        arrearage               payments by Trustee
                               Contract                       payment              be paid             (Refer to other
                                                                                                       plan section if
                                                                                                       applicable)

       ______________          ____________________           $ ________           $ _________          _________             $ ____________

                                                              Distributed by:
                                                              ☐
                                                              ■ Trustee


                                                              ☐Debtor(s)
       ______________          ____________________           $ ________           $ _________          _________              $ ____________

                                                              Distributed by:
                                                              ☐Trustee
                                                              ■

                                                              ☐Debtor(s)
       Insert additional lines as needed.


PART 7: Vesting of Property of the Estate & Plan Distribution Order____________________
7.1    Property of the estate will vest in the debtor(s) upon

       Check the applicable box:

       ☐■ plan confirmation.
       ☐ entry of discharge.
       ☐ other: __________________________________________ .

7.2    Plan Distribution by the Trustee will be in the following order:
       (Numbers bellow reflects the order of distribution; same number means prorate distribution among claims with same number.)

       1.   Distribution on Adequate Protection Payments (Part 3, Section 3.6)
       1.   Distribution on Attorney’s Fees (Part 4, Section 4.3)
       1.   Distribution on Secured Claims (Part 3, Section 3.1 total) - Current contractual installment payments
       2.   Distribution on Post Confirmation Property Insurance Payments (Part 4, Section 4.6)
       2.   Distribution on Secured Claims (Part 3, Section 3.7)
       2.   Distribution on Secured Claims (Part 3, Section 3.1 total) – Arrearage Payments
       3.   Distribution on Secured Claims (Part 3, Section 3.2 total)
       3.   Distribution on Secured Claims (Part 3, Section 3.3 total)
       3.   Distribution on Secured Claims (Part 3, Section 3.4 total)
       3.   Distribution on Unsecured Claims (Part 6, Section 6.1)
       4.   Distribution on Priority Claims (Part 4, Section 4.5 total)
       5.   Distribution on Priority Claims (Part 4, Section 4.4 total)
       6.   Distribution on Unsecured Claims (Part 5, Section 5.2)
       6.   Distribution on Unsecured Claims (Part 5, Section 5.3)
       7.   Distribution on General Unsecured claims (Part 4, Section 5.1)

       Trustee’s fees are distributed before each of the distributions above described pursuant to 28 U.S.C. § 586(e)(2).




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PART 8: Nonstandard Plan Provisions_____________________________________________
8.1    Check "None" or list the nonstandard plan provisions.

  ☐ None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.
Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in
the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

Each paragraph must be numbered and labeled in boldface type, and with a heading stating the general subject matter of the
paragraph.

The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.


8.1 THIS SECTION MODIFIES LGB-G, PART 2, SECTION 2.3, INCOME TAX REFUND TO BE USED TO
FUND THE PLAN; TAX REFUND WILL BE DEVOTED EACH YEAR, AS PERIODIC PAYMENT TO FUND THE
PLAN UNTIL THE PLAN COMPLETION. TO TENDER OF SUCH PAYMENT SHALL DEEM THE PLAN
MODIFIED BY SUCH AMAOUNT INCREASING THE BASE WITHOUT THE NEED OF FURTHER NOTICE.
HEARING OR COURT ORDER. IF THE DEBTOR NEEDS THE USE OF ALL OR PORTION OF SUCH TAX
REFUND, THE DEBTOR SHALL SEEK THE COURT AUTHORIZATION PRIOR TO ANY USE OF SUCH FUNDS.--




PART 9: Signature(s)___________________________________________________________


s/ Norberto Colón Alvarado
_____________________________________________________________________
                                                                                                                    12/18/2019
                                                                                                           Date _________________________
Signature of attorney of debtor(s)

                                                                                                           Date _________________________
_____________________________________________________________________


_____________________________________________________________________                                      Date __________________________

Signature(s) of Debtor(s) (required if not represented by an attorney; otherwise optional)
By filing this document, the Attorney for Debtor(s) or Debtor(s) themselves, if not represented by an attorney, also certify(ies) that
the wording and order of the provisions in this Chapter 13 plan are identical to those contained in L o c a l Form G (LBF-G),
other than any nonstandard provisions included in Part 8.


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